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8
                           UNITED STATES DISTRICT COURT
9
                          EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,             )
11                                         )ORDER
          Plaintiff,                       )
12                                         )
                                           ) 2:16-CR-00038-03-MCE
13        vs.                              )
                                           )
14   BRIAN STONE,                          )
                                           )
15        Defendant.                       )
                                           )
16
17        GOOD CAUSE APPEARING, IT IS HEREBY ORDERED THAT Karen L.
18   Landau is appointed under the Criminal Justice Act to represent
19
     defendant Brian Stone in connection with the preparation and
20
     presentation of a motion for reduction in sentence pursuant to
21
     the First Step Act and 18 U.S.C. § 3582.
22
23        IT IS SO ORDERED.

24   Dated:    April 14, 2020
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